Case 1:22-cv-00448-CMA-KLM Document 18 Filed 06/01/22 USDC Colorado Page 1 of 4




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO


  Katherine Friess                                             )
                                                               )
           Plaintiff,                                          )
                                                               )
  v.                                                           )
                                                               )
  Bennie G. Thompson, in his official capacity                 )
  As Chairman of the House Select Committee                    ) Civil Action No. 1:22-cv-00448-CMA
  To Investigate the January 6th Attack on the                 )
  United States Capitol; Select Committee to                   )
  Investigate the January 6th Attack on the                    )
  United States Capitol, a committee of the                    )
  Unites States House of Representatives                       )
                                                               )
           Defendants                                          )


                        STATUS REPORT RESPONSE TO JUDGE’S ORDER
                             DOCKETED AS MINUTE ORDER #17

           Plaintiff objects to the Magistrate’s characterization of events in her Minute Order issued
  5/31/2022, Doc. #17.
           On 5/12/2022 the Plaintiff had most certainly served the Defendant and attempted to
  confer with opposing counsel despite the Magistrate’s reprove of Plaintiff’s counsel.
           Plaintiff had filed (in Doc. #10 and Doc. #12 5/17/2022 and 5/20/2022 respectively) a very lengthy
  and detailed account of the extreme lengths it had gone to confer and properly serve the
  Defendant (Bennie Thompson, Chairman of the January 6th Select Committee to investigate the actions which took
  place at the U.S. Capitol Building)   in efforts to keep this Court informed.
           To avoid redundancy, the Plaintiff kindly requests this Honorable Court to review the
  previous filings of Plaintiff as stated above where it specifically details the “explanation” this
  Honorable Magistrate seeks.
           To recap the contents of those filings and the information previously provided to the
  Court:
           •   Plaintiff attempted hand to hand service via process server who also provided an
               affidavit which was submitted in filing (see Doc. #10)

                                                          1
Case 1:22-cv-00448-CMA-KLM Document 18 Filed 06/01/22 USDC Colorado Page 2 of 4




        •   The names and context of communication Plaintiff’s counsel had conferred with
            congressional staff members of Congressman Bennie G. Thompson as well as
            attorneys specifically assigned and working for the Chairman and the Select
            Committee; that attorney was opposing counsel Mark Harris (additional communication
            via email and fax to Attorney Tim Heaphy-these numbers and emails were provided by their own staff)

            see Doc. #10.
        •   A brief explanation of Plaintiff’s counsel communication with Defendant’s counsel
            Mark Harris and staff attorney on 5/12/2022 (during Plaintiff’s attempt to confer with
            opposing counsel as required).   It also states that opposing counsel failed to return the call,
            which he claimed he would return, to confer with Plaintiff’s counsel. The Plaintiff
            also informed this Court that opposing counsel said he was not sure if he would waive
            formal service/accept service and he (Attorney Mark Harris) would call Plaintiff’s
            counsel back again. Plaintiff’s counsel further informed this Court opposing counsel
            never called later to confer (see Doc. #10 and Doc. #12).
        •   Plaintiff’s counsel provided information to this Court that it had formally (due to
            opposing counsels apparent refusal to waive service)   served both the U.S. Government and
            the Defendant (Bennie Thompson) in accordance with the rules promulgated in
            F.R.Cv.P. and the specific requirements for federal government officials, including
            congress (see Doc. #10, paragraph #9-Certificate of Compliance).
        •   Plaintiff’s counsel explained to the Court the circumstances and efforts to confer with
            opposing counsel – to no avail. Moreover, Plaintiff politely suggested to this Court
            that Plaintiff would not be adverse to a continuance if the Government/Defendant
            requested such as it appeared the staff at the January 6th Select Committee was
            seemingly unorganized (see Doc. #10 and Doc. #12). Notwithstanding the Magistrate’s
            unbraiding; Plaintiff’s counsel followed its directives - please note: there was never
            any shenanigans to avoid communication or to confer with Plaintiff’s counsel by
            AT&T’s counsel.        Both Plaintiff’s counsel and AT&T’s counsel conferred in a
            professional and productive manner coming to an agreed upon solution without the
            need for Court’s intervention (see Doc. #11 filed by Plaintiff).




                                                       2
Case 1:22-cv-00448-CMA-KLM Document 18 Filed 06/01/22 USDC Colorado Page 3 of 4




      Plaintiff’s counsel has searched the local rules and the F.R.Cv.P. and finds there to be no
  remedy (prior to scheduled conference date) for opposing counsel’s failure to confer so that Plaintiff
  could provide a (proposed) scheduling order to the Magistrate before the parties were actually
  scheduled to meet. Counsel simply used the common senses approach and was relying on the
  good faith of opposing counsel to appear at the scheduled date. If there is such a personal
  practice preference this Magistrate utilizes, Plaintiff’s counsel would be more than happy and
  ready to oblige.
      Had this Court not cancelled the June 3rd hearing, Plaintiff’s counsel as anticipated and
  prepared for, would have had its chance and the ability to confer with opposing counsel under
  supervision of the Court (note: in preparation for the June 3rd hearing, Plaintiff’s counsel had long ago booked
  his flight and made hotel reservation pursuant to this court’s order and scheduling).   As requested by this
  Court, the Defendant’s have been sent notice from Plaintiff’s counsel of this Court’s particular
  prescheduling conference order (June 3, 2022) with dates and instructions. Opposing counsel was
  required to either appear or file for a continuance for the scheduled June 3rd hearing. It is not
  incumbent upon Plaintiff’s counsel to force opposing counsel to comply with the rules nor to
  prematurely file a formal definitive claim of failure to do so seeking court intervention prior to
  the actual scheduled date of the conference (June 3, 2022). Moreover, it would not be constructive
  nor serve any purpose or benefit to this court or its judicial economy by providing a “one-party”
  proposed schedule without any input from opposing counsel.
          The Plaintiff respectively requests this Honorable Court to correct the record in
  accordance with the information, circumstances, and events articulated in the Plaintiff’s filings.




                                                                           Katherine Friess by her Attorney,
                                                         Respectfully submitted this 1st day of June, 2022
                                                                                   /s/ Raymond Mansolillo
                                                                       Law Offices of Raymond Mansolillo
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                                                                                        Cell: 401-640-4225




                                                         3
Case 1:22-cv-00448-CMA-KLM Document 18 Filed 06/01/22 USDC Colorado Page 4 of 4




                                 CERTIFICATE OF SERVICE


         I, Raymond Mansolillo Esq., hereby certify that on June 1, 2022, a copy of the foregoing
  Status Report Response to Judge’s Order Docketed as Minute Order #17 was filed electronically
  via ECF.




                                                            /s/ Raymond Mansolillo

                                                            Raymond Mansolillo



  Dated: June 1, 2022




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